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IN THE UNITED STATES DISTRICT cour r Al ic Fr)

DISTRICT OF UTAH, CENTRAL DIVISION ~

 

 

UNITED STATES OF AMERICA, COMPLAINT
: ‘3/0 PRIW
Plaintiff 2 Zory7
COUNT I: Possession of an Unregistered
VS. Shotgun 26 U.S.C. § 5861(d)
TYLER SCOTT SORENSON
Magistrate Judge Paul M. Warner
Defendant.

 

 

Before the Honorable Paul M. Warner, United States Magistrate Judge for the
District of Utah, appeared the undersigned, who on oath deposes and says:

COUNTI

26 U.S.C. § 5861(d)
(Possession of an Unregistered Shotgun)

On or about April 18, 2020, in the Central Division of the District of Utah,
TYLER SCOTT SORENSON,
defendant herein, did knowingly receive and possess a firearm, to wit: a Stevens Model 320

shotgun having a barrel of less than 18 inches in length, not registered to him in the National

 
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Firearms Registration and Transfer Record; all in violation of 26 U.S.C. §§§ 5841, 5861(d),
and 5871.
This complaint is made on the basis of investigation consisting of the following:
Agent Background
1. Iama Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), and have been since December 12, 2016. I am assigned to the
Salt Lake City Field Office, in the District of Utah. I have completed the twelve
(12) week Criminal Investigator Training Program and the fourteen (14) week
Special Agent Basic Training course at the Federal Law Enforcement Training
Center in Glynco, Georgia, These courses consisted of instruction in federal law,
evidence handling, interviewing techniques, firearms investigations, explosive
investigations, arson investigations and tactical training in the execution of search
and arrest warrants. Prior to being an ATF Special Agent I was an Explosive
Ordinance Disposal Technician with the United States Air Force for approximately
eight (8) years, and am currently training as an ATF Certified Explosive Specialist.
As a special agent I have investigated violent crimes involving firearms,
explosives, and drug trafficking.
Statement of Probable Cause
1. On April 18, 2020, Sandy Police department responded to a call for a theft in
progress in Sandy, Utah. An individual later identified as TYLER SORENSON was

seen attempting to unhook a trailer.

 
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. Upon arrival, Sandy Police observed SORENSON kneeling at the hitch of the
complainant’s vehicle. Officers asked SORENSON what he was doing and he stated
“he was looking for clues for the three percent.” After further questioning,
SORENSON became visibly upset, demonstrating pre-attack indicators to include
clenching his fist, grinding his teeth, and staring at officers. Officers detained
SORENSON while gathering more information. SORENSON was accompanied by
a woman who stated she was SORENSON’s girlfriend and that they had driven up
from Fountain Green, Utah. Officers asked the woman to retrieve the registration
from their vehicle. As she did so, officers observed a black pistol between the
passenger seat and the door frame.

. SORENSON consented to a search of his vehicle and officers located two
muzzleloader rifles, a can of gun powder, and a Stevens Model 320 shotgun. The
shotgun appeared to have been cut with a saw and the stock was cut off
Additionally, there was a device in a backpack that appeared to be a bomb. On the
device, “Have a nice day, Fuck you” was written.

. SORENSON admitted post-Miranda that the device was a bomb and that it
contained gunpowder, dryer sheets, and dryer lint. SORENSON stated that he made
the device for a friend. When asked who his friend was, SORENSON stated
“China.” SORENSON also explained that he was preparing for an invasion from
China and needed the bomb to defend himself in the stand-off.

. Your affiant measured the length of the barrel of the Stevens Model 320 12 gauge

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shotgun bearing serial number 170075J and determined that the shotgun had a barrel
length of less than 18 inches. An inquiry was made in the National Firearms
Registration and Transfer Record, and the firearm was not found to have been
registered as a short barrel shotgun.

Based on the foregoing information, your affiant respectfully requests that a warrant

of arrest be issued for TYLER SCOTT SORENSON for violation of 26 U.S.C. § 5861(d).

/ naton Grubbs

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Affiant,
Special Agent Aaron Grubbs
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SUBSCRIBED AND SWORN to before me this Zz day of April 2020.

Pit Bat br Josm~

Paul M. Warner
United States Magistrate Court Judge

APPROVED:

JOHN W. HUBER
United States Attorney

/s/ Jamie Z. Thomas

 

Jamie Z. Thomas
Assistant United States Attorney

 
